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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF VIRGINIA
                                 ALEXANDRIA DIVISION

    UNITED STATES, et al.,

                         Plaintiffs,

          vs.                                                 No: 1:23-cv-00108-LMB-JFA

    GOOGLE LLC,

                         Defendant.


                     DEFENDANT GOOGLE LLC’S MOTION TO SEAL

         Pursuant to Local Civil Rule 5(C) and the Modified Protective Order, Defendant Google

  LLC (“Google”), through its undersigned counsel, hereby respectfully moves this Court for an

  order granting Google’s motion to seal. Google seeks leave to file certain sealed exhibits to the

  Declaration of Bryon Becker in Support of Google LLC’s Replies in Support of Google LLC’s

  Motion for Summary Judgment and Motions to Exclude, and redacted versions of Google’s Reply

  in Support of Its Motion for Summary Judgment, Google’s Reply in Support of Its Motion to

  Exclude the Testimony of Prof. Robin S. Lee, Google’s Reply in Support of Its Motion to Exclude

  the Testimony of Dr. Timothy Simcoe, and Google’s Reply in Support of Its Motion to Exclude

  the Testimony of Adoria Lim. Consistent with the local rule and this Court’s Electronic Case

  Filing Policies and Procedures, undersigned counsel have filed the materials at issue using the

  sealed filing event on CM/ECF and hereby certify that they will serve a copy on opposing counsel

  and deliver a copy to this Court in a separate container labeled “UNDER SEAL.” The grounds for

  this motion are contained in the memorandum of law concurrently filed in support of this motion.

  A proposed order is attached for the Court’s convenience.




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   Dated: May 31, 2024                Respectfully submitted,

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